Case 2:04-cr-20183-SH|\/| Document 155 Filed 05/31/05 Page 1 of 7 Page|D 175

UN|TED STATES DlSTRICT COURT
WESTERN DlSTRICT OF TENNESSEE
MEMPHIS DlVlSlON

 

UN|TED STATES OF AMER|CA

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.v- 2;04cR20183-02-D vii let ;§.;,*§:.f~,i§§§,‘$

CHARLOTTE WHiTSON
Lee Howard Gera|d. CJA
Defense Attorney
8 South Third St.
Niemphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 3 of the indictment on October 21, 2004.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Secti°n Nature of Offense Offense Number|s)
Concluded
21 U.S.C. § 846 Conspiracy to |V|anufacture 04/10/2003 3

|V|ethamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the i\/landatory
Victims Restitution Act of 1996

Count(s) 4 and 5 are dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Withi_n 30 days ofany change of name, residence, Or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09116/1970 May 12, 2005
Deft's U.S. |‘viarshai No.: 19625-076

Defendant’s |V|ai|ing Address:
365 Nlagno|ia Road

Tiptonvi||e, TN 38079 jj
/
' ' BERNicE B. ooNAi_

UN|TED STATES DlSTR|CT JUDGE

/:
Thls document entered on the docket sheet in cgmplian“c§|eay`“j_/_’ 2005
With Rule 55 and/or 32(!:)) FHCrP on "/ d

          

 

Case 2:04-cr-20183-SH|\/| Document 155 Filed 05/31/05 Page 2 of 7 Page|D 176

Case No: 2:O4CR20183-02 Defendant Name: Char|otte WH|TSON Page 2 of 6
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 21 Months.

The defendant is remanded to the custody of the United States |Viarshal.

RE'I'URN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UN|TED STATES l\/|ARSHAL
By:

 

Deputy U.S. E\/larsha|

Case 2:04-cr-20183-SHl\/l Document 155 Filed 05/31/05 Page 3 of 7 PagelD 177

Case No: 2:04CR20183-02 Defendant Name: Char|otte WH|TSON Page 3 of 6

SUPERV|SED RELEASE

Upon release from imprisonment1 the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to Which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafterr as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soldl used,
distributed, or administered;The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:04-cr-20183-SHl\/l Document 155 Filed 05/31/05 Page 4 of 7 PagelD 178

Case No: 2:040R20183-02 Defendant Name: Charlotte WHlTSON Page 4 of 6

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lvlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall obtain and maintain full-time employment

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MON ETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Tota| Fine Tota| Restitution

$100.00 $2,572.00

The Special Assessment shall be due immediately.

FlNE

No fine imposed.

Case 2:04-cr-20183-SHl\/l Document 155 Filed 05/31/05 Page 5 of 7 PagelD 179

Case No: 2:04CR20183-02 Defendant Name: Char|otte WH|TSON Page 5 of 6

REST|TUT|ON

Restitution in the amount of $2,572.00 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority
Total Amount of Order
Name of pa}[ee Amount Restitution Ordered or
of Loss Percentage
of Payment
DRUG ENFORCEMENT $1,131.00 $1,131.00
AGENCY (DEA),

600 AR|V|Y NAVY ROAD
ARL|NGTON, VA 22202
REF: invoice FH24805-1,
Appropriation 06-2003-0201-
00996

DRUG ENFORCEMENT $1,441.00 $1,441.00
AGENCY (DEA),

600 ARiViY NAVY ROAD

ARL|NGTON, VA 22202

REF: invoice l-`i-i24805-2,

Appropriation C6-2003-0201-

00996

lfthe defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenrvise in the priority order or percentage payment
column above

The amount of loss and the amount of restitution ordered Will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page

Case 2:04-cr-20183-SHl\/l Document 155 Filed 05/31/05 Page 6 of 7 PagelD 180

Case No: 2:04CR20183-O2 Defendant Name: Charlotte WH|TSON Page 6 of 6

SCHEDULE OF PAYMENTS

i-iaving assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income interest requirement is waived. Defendant to notify
the Court and the United States Attorney of any material change in economic
circumstances that may affect defendant’s ability to pay restitution.

Unless the court has expressly ordered othenrvise in the speciai instructions above, if thisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court, uniess othenrvise directed by the court, the probation officerl or the United States attorney.

The defendant shall receive credit for ali payments previously made toward any criminal monetary
penalties imposed.

Joint and Severa|
Defendant Namel Case Number, and Joint and Several Amount:
Jonathan Carr, 040R20183-011 $2,572.00

Joseph Cochran, 04CR20183-03, $2,572.00
Lisa Sue Terry, 04CR20183-04, $2,572.00

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 155 in
case 2:04-CR-20183 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

Leonard E. Lucas

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Ste. 800

Memphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Honorable Bernice Donald
US DlSTRICT COURT

